                    IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            STATESVILLE DIVISION
                     CRIMINAL DOCKET NO. 5:03CR37-5-RLV


UNITED STATES OF AMERICA         )
                                 )
            vs.                  )                     SCHEDULING ORDER
                                 )
JERMAINE MONTE BERRY             )
                                 )
           Defendant.            )
________________________________)


      THIS MATTER is before the Court on an Order (Doc. No. 8) granting

Defendant’s Motion To Vacate, Set Aside, or Correct Sentence under 28 U.S.C. §

2255, (Doc. No. 1) in case 5:12CV106, filed July 23, 2012.

      IT IS, THEREFORE, ORDERED that:

      The Bureau of Prisons and the United States Marshals Service is hereby

ORDERED to transport and produce the body of JERMAINE MONTE BERRY(USM#

19509-058), for re-sentencing during our June 4, 2014 sentencing term, before the

Honorable Richard L. Voorhees, in the Western District of North Carolina, Statesville

Courthouse, 200 West Broad Street, 2nd Floor Courtroom, Statesville, North Carolina,

not later than May 27, 2014, and upon completion of the re-sentencing hearing,

Defendant is to be returned to the custody of the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.




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                         Signed: April 28, 2014




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